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 1   TRACY L. WILKISON
     United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     ALEXANDER C.K. WYMAN (Cal. Bar No. 295339)
 4   Assistant United States Attorney
     Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-2435
 7        Facsimile: (213) 894-6269
          Email:     Alex.Wyman@usdoj.gov
 8
     BRETT A. SAGEL (Cal. Bar No. 243918)
 9   Assistant United States Attorney
          Ronald Reagan Federal Building
10        411 West Fourth Street, Suite 8000
          Santa Ana, California 92701
11        Telephone: (714) 338-3598
          Facsimile: (714) 338-3708
12        Email:      Brett.Sagel@usdoj.gov

13   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S RESPONSE TO
18                                             DEFENDANT’S EX PARTE APPLICATION
                      v.                       FOR AN ORDER SETTING A STATUS
19                                             CONFERENCE (CR 887)
     MICHAEL JOHN AVENATTI,
20
                Defendant.
21

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23         Plaintiff United States of America, by and through its counsel

24   of record, the United States Attorney for the Central District of

25   California and Assistant United States Attorneys Brett A. Sagel and

26   Alexander C.K. Wyman, hereby submits the following response to

27   defendant’s ex parte application for an Order setting a status

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 1   conference regarding defendant’s conditions of release and need to

 2   prepare for and attend trial in New York (CR 887).

 3         This Response is based upon the attached memorandum of points

 4   and authorities, the files and records in this case, and such further

 5   evidence and argument as the Court may permit.

 6    Dated: December 9, 2021              Respectfully submitted,

 7                                         TRACY L. WILKISON
                                           United States Attorney
 8
                                           SCOTT M. GARRINGER
 9                                         Assistant United States Attorney
                                           Chief, Criminal Division
10

11                                               /s/
                                           BRETT A. SAGEL
12                                         ALEXANDER C.K. WYMAN
                                           Assistant United States Attorneys
13
                                           Attorneys for Plaintiff
14                                         UNITED STATES OF AMERICA
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.    INTRODUCTION

 3         In January 2020, the Court found that there was probable cause

 4   to believe defendant committed crimes while on release and revoked

 5   defendant’s bail -- a finding and order that were subsequently

 6   affirmed by the Ninth Circuit.        In March 2020, the Court, in its

 7   discretion, granted temporary release to defendant, based on the

 8   conditions the Court determined were the minimum terms necessary to

 9   protect the public.      Defendant previously sought to have the Court

10   reopen his bail revocation hearing and grant defendant permanent bail

11   (CR 448), which the Court properly denied (CR 471).            The Court has

12   also modified defendant’s conditions of release to permit him to

13   travel to New York for his sentencing on his extortion convictions

14   (CR 521) as well as to leave his home detention to meet with counsel

15   and attend court hearings in this case (CR 478).

16         Defendant now applies ex parte for an order setting a status

17   conference regarding defendant’s conditions of release.            The
18   government respectfully request that the Court deny this request as
19   premature or unnecessary.       Prior to filing his application, defendant

20   asked the government to stipulate to a modification of his conditions

21   of release.     The government declined because defendant’s proposed

22   modification directly conflicted with this Court’s prior orders.                 The

23   government recommends that the parties be given additional time to

24   address defendant’s proposed modification of his release conditions

25   and work together in good faith to formulate a proposed stipulation

26   regarding any appropriate modifications to the existing conditions

27   for the Court to consider.       The parties will notify the Court if such

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 1   a stipulation cannot be reached and, if the Court deems a status

 2   conference to be necessary, can set one at that time.1

 3   II.   BACKGROUND

 4         In January 2020, the Court revoked defendant’s bail and ordered

 5   him detained pending trial.       (CR 83.)    The Court found probable cause

 6   to believe that defendant had committed federal and state crimes

 7   while on pretrial release, that there was an “ongoing danger” that

 8   defendant would violate the conditions of his release and commit

 9   further crimes, and that the danger to the community was “real and

10   palpable.”    (RT 11/15/2020 at 36-37.)       The Ninth Circuit affirmed

11   this Court’s ruling, holding that both this Court’s probable-cause

12   and safety findings were “correct.”         (CR 116.)

13         In March 2020, at the beginning of the COVID-19 pandemic, the

14   Court granted temporary release to defendant pursuant to 18 U.S.C.

15   § 3142(i) and found that specific release terms would be necessary to

16   effectuate defendant’s release. (CR 128; see also RT 3/31/2020 at 3-

17   6; id. at 6 (“I have an ultimate duty to protect the public here.                As
18   I reiterated at Docket No. 128, the Court has not lost sight and
19   neither should the parties of this Court’s finding and the Ninth

20   Circuit’s affirmance, that Avenatti is a danger to the community.

21   I’m looking for constructive ways to have him released and these are

22   my minimum terms to see that that’s accomplished.” (emphasis added));

23   CR 140 § 26 (“This Order does not withdraw, is not in derogation of,

24   and does not conflict with this Court’s prior finding, and the Ninth

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26
           1The government believes it may be helpful if the Court issues
27   a minute order stating the terms with which the Court would require
     defendant to comply in connection with any modification of
28   defendant’s conditions of temporary release allowing him to travel to
     New York to prepare for his upcoming trial.
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 1   Circuit’s affirmance of this Court’s finding, that there is probable

 2   cause to believe that defendant committed state and federal crimes

 3   while on pretrial release, that defendant is a danger to the

 4   community, and that defendant failed to rebut the presumption that no

 5   conditions or combination of conditions will assure the safety of the

 6   community.    See United States v. Avenatti, C.A. No. 20-50017 (9th

 7   Cir. Mar. 6, 2020).”).)       The Court ordered defendant’s release

 8   pursuant to those minimum terms (CR 140), to which defendant had

 9   stipulated (CR 139).

10         In May 2021, defendant sought to reopen his bail hearing from

11   January 2020 and for the Court to rescind the temporary release and

12   the specific conditions the Court ordered for defendant to be on

13   temporary release.      (CR 448, 465.)       Defendant raised basically the

14   same legal arguments in those filings as he does in his present

15   motion.    Defendant’s arguments were, and are, incorrect for the

16   reasons explained in the government’s brief responding to them when

17   first presented.     (CR 470 at 2-6.)        The Court properly denied

18   defendant’s motion to reopen his bail.          (CR 471.)   On two occasions

19   after the Court denied defendant’s motion to reopen his bail, the

20   Court modified defendant’s temporary release conditions -- without

21   objection from the government -- to allow him to leave his home

22   detention to attend proceedings and meet with his counsel in this

23   case as well as his Nike extortion matter if his third-party

24   custodian and/or a member of his defense team accompanied defendant.

25   (CR 478, CR 521.)

26   III. ARGUMENT

27         Defendant’s present application is completely devoid of any

28   reference to this Court’s revocation of defendant’s bail and the

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 1   findings of this Court.2      Since the Court made its findings in

 2   January 2020 establishing the minimum conditions required to release

 3   defendant, the only new material change in defendant’s circumstances

 4   is that defendant was convicted by a jury of three felonies and

 5   sentenced to thirty months in custody.         This change further supports

 6   the finding already made by the Court that defendant is a danger to

 7   the community.

 8         That said, and as the government’s email responses to defendant

 9   (CR 887 Ex. A) make clear, the government is willing to work with

10   defendant to modify his release conditions consistent with this

11   Court’s prior orders to travel to New York.          Notwithstanding his

12   assertions, defendant cannot unilaterally decide what his release

13   terms should be regardless of this Court’s prior findings and orders.

14   (Cf. id. (“There will be no third-party custodian nor is there a need

15   for one.”).)     As noted above, the government is willing to work with
16   defendant to formulate a proposed stipulation regarding any
17   appropriate modifications to the existing conditions for the Court to
18   consider. The government will briefly respond to the additional
19   claims and representations by defendant.

20         In that regard, the government requests that the Court require

21   defendant to provide the Court and the government specifics of his

22   proposed travel to and stay in New York, including dates of travel,

23   location in which defendant will be staying,3 and who will ensure

24
          2 Defendant even states that he has not attempted to flee in his
25   three years since his arrest (CR 887 ¶ 6), but ignores his criminal
     conduct that resulted in his bail revocation.
26
          3 If defendant will be staying at someone’s residence, this may
27   resolve the third-party custodian issue. If defendant intends to
     stay at a hotel or somewhere similar, this may raise other issues as
28   defendant continues to claim he is indigent and incapable of
     contributing to his defense.
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 1   defendant’s compliance with his conditions of temporary release.

 2   Notably, defendant did not provide this information on November 18,

 3   2021, when defendant sought to extend his temporary release based, in

 4   part, on his trial in New York for stealing funds from another

 5   client, Stephanie Clifford, set for January 24, 2022 (“SDNY

 6   embezzlement trial”) (CR 884 ¶ 4) and has not done so in the present

 7   application.

 8         Defendant includes generic claims about his inability to prepare

 9   for his SDNY embezzlement trial unless he is allowed to travel to New

10   York whenever he wants between this week and through the conclusion

11   of that trial.     (CR 887 ¶ 4.)     Neither defendant nor any of his three

12   public defenders representing him in New York provide any specifics

13   on why defendant needs to travel to New York so early, and why

14   defendant cannot prepare with counsel -- at least through the end of

15   the year -- under defendant’s current conditions of release.4

16   Moreover, the SDNY embezzlement case has been pending since May 2019,
17   and defendant has stated to this Court that the case only relates to
18   $150,000 out of an $800,000 book deal in which defendant claims to
19   have a written retention agreement with his client that shows

20   defendant is entitled to the proceeds.         (CR 395 at 1.)     Judge Furman,

21   who is presiding over that case, recently stated that the case “is

22   not the most complicated trial.”        (United States v. Avenatti, 19 CR

23   374-JMF (SDNY), CR 162.)       There is no reason, and defendant has not

24   provided any, that defendant cannot assist in his own defense from

25   California prior to traveling to New York in January.

26

27         4Defendant was able to work with his new appellate counsel in
     Florida on his nearly 100-page opening brief (prior to being stricken
28   due to exceeding the permitted length) and over 3,000 pages of an
     excerpt of record.
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 1         Defendant also repeats his claims of not being a flight risk.

 2   (CR 887 ¶¶ 5-8.)     He is.    Defendant has already been sentenced to 30

 3   months imprisonment on his extortion convictions, has an upcoming

 4   trial in which a conviction would likely result in a custodial

 5   sentence, and the advisory sentencing guideline range for the client

 6   counts on the one hand or the severed Counts 11-36 on the other hand

 7   in this matter are each well over ten years in prison.5            Given that

 8   defendant has consistently complained about his brief period of

 9   detention in this matter,       as well as the conditions during his time

10   on home confinement, the Court can easily infer that defendant’s

11   interest in avoiding returning to complete his period(s) of

12   incarceration makes him a serious flight risk.

13         Defendant, as he has done previously, claims he “has complied

14   with each of the terms of his temporary release for nearly 20 months

15   and continues to comply without incident.”          (CR 887 ¶ 8.)     This is

16   inaccurate.     This Court specifically stated in April 2021 that it has

17   “been holding off ruling on the government’s motion to have

18   [defendant] remanded” for violating his terms of his temporary

19   release.    (RT 4/7/21 at 6.)     The Court has not stated defendant has

20   fully complied with his conditions of release, and defendant even

21   admitted – eventually, after being caught -- to using his custodian’s

22

23         5Defendant claims the current status of the three cases provide
     a reason he will not flee. (CR 887 ¶ 7.) Not so. Defendant claims
24   in this matter he “has a strong appeal pending in the Ninth Circuit,
     which seeks dismissal of the Indictment in this case.” (Id.)
25   Defendant’s appeal is not strong and even if he were to prevail on
     his appeal, defendant would still face a trial on the remaining 26
26   counts of the indictment. Defendant claims he has a pending motion
     for a new trial in the New York extortion matter (id.), but defendant
27   concedes in that motion that the court is without jurisdiction to
     grant it because it was filed after the notice of appeal was filed in
28   the case. The government will not comment on defendant’s opinion
     about the strength of the government’s case in the upcoming trial.
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 1   computer, which was a violation of his temporary conditions of

 2   release.

 3         Finally, defendant spills considerable ink about the Bail Reform

 4   Act and defendant’s claims about his conditions of release.             (CR 887

 5   ¶¶ 9-11.)    Defendant raised these same arguments previously in

 6   attempting to reopen his bail revocation (CR 448, 465), which the

 7   Court properly rejected (CR 471).        The Court has already determined

 8   that there was probable cause to believe defendant committed felony

 9   offenses while on release, therefore, Section 3148(b) is the

10   applicable section to determine what conditions of release, if any,

11   the Court should impose.       (See CR 470.)

12   IV.   CONCLUSION
13         The government does not object to a hearing, but believes it may
14   be unnecessary if the Court issues a minute order stating the terms
15   with which the Court would require defendant to comply in connection
16   with any modification of defendant’s conditions of temporary release
17   allowing him to travel to New York to prepare for his upcoming trial.
18   In the alternative, the court should defer setting such a hearing and
19   allow the parties a period of time to propose a stipulation regarding

20   such modifications.

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